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Attorney for Plaintiffs
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO

 GREGORY GRAF, an individual,
 MARGUERITE SHAW, an individual,
 SUELLEN CARMAN, an individual,
 STEVEN THYBERG, an individual, and
 CAROLYN DESSIN, an individual,

        Plaintiffs,                            Case No.:

 vs.

 CHAD CHRISTENSEN, Idaho State                 COMPLAINT
 Representative for Legislative District 32B
 and Candidate for Legislative District 35B,

        Defendants.



       Plaintiffs, through their attorneys at Beard St. Clair Gaffney PA, allege and

complaint against Chad Christensen as follows:

                                       PARTIES

       1.      Gregory Graf (Graf) is a resident of Bonneville County, Idaho and citizen

of the state of Idaho. He has taken an interest in the 2022 primary race for Idaho House

District 35B, among others.




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        2.      Marguerite Shaw (Shaw) is a resident of Teton County, Idaho, a

constituent of Representative Chad Christensen, and a voter in Idaho Legislative District

35B.

        3.      Suellen Carman (Carman) is a resident of Teton County, Idaho, a

constituent of Representative Chad Christensen, and a voter in Idaho Legislative District

35B.

        4.      Steven Thyberg (Thyberg) is a resident of Bingham County, Idaho and

citizen of the state of Idaho. He has taken an interest in the 2022 primary race for Idaho

House District 35B, among others.

        5.      Carolyn Dessin (Dessin) is a part-time resident and property owner Teton

County, Idaho and a constituent of Representative Chad Christensen. She has taken an

interest in the 2022 primary race for Idaho House District 35B.

        6.      Graf, Shaw, Carman, Thyberg, and Dessin may be collectively referred to

herein as Plaintiffs.

        7.      Chad Christensen (Defendant or Christensen) is a resident of Bonneville

County and an elected public official in the state of Idaho, currently serving in the House

of Representatives for Legislative District 32, Seat B, and running for reelection for the

now re-designated House Seat 35B.

                             JURISDICTION AND VENUE

        8.      This action arises under U.S. Const. Amend. I and the Plaintiffs seek

remedies under 28 U.S.C. §§ 2201-2202. This Court has jurisdiction over this matter

pursuant to 28 U.S.C. § 1331.

        9.      Venue lies in the District of Idaho pursuant to 28 U.S.C. § 1391(b)(1) &

(2). Defendant resides and serves as a public official within the District of Idaho and


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substantially all events or omissions giving rise to the claims alleged herein took place in

the District of Idaho.

                                          FACTS

       10.     Defendant assumed office as a member of the Idaho House of

Representatives on December 1, 2018.

       11.     Defendant is currently running for re-election to the Idaho House of

Representatives and is on the ballot in the Republican primary on May 17, 2022.

       12.     Defendant has maintained a Facebook page used in his capacity as a

legislator since September 4, 2021 identified by the uniform resource locator

“facebook.com/chadchristensenforidaho” and formerly identified by the name

“Representative Chad Christensen,” referred to herein as “the Facebook page.”

       13.     The Facebook page is distinct and separate from Defendant’s personal

Facebook profile and is expressly designated as belonging to a politician and has, at all

time relevant, been used by Defendant for promoting his political positions and engaging

in public discourse.

       14.     The header for the Facebook page appears as follows:




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       15.     Per the Facebook page transparency information, Defendant created the

Facebook page in his capacity as an elected representative, Defendant manages the

Facebook page, and the page runs ads about social issues, elections and politics.

       16.     The Intro block for the Facebook page appears as follows:




       17.     Defendant uses the Facebook page in his official capacity for purposes of

communicating directly with his constituents, the citizens of Idaho, and potential voters.

       18.     Defendant uses the Facebook page to engage in discourse with the public

and receives public comment on his posts.




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       19.     Defendant posts to the Facebook page regularly, often multiple times per

day, sharing information about his legislative goals, his opponent in the primary,

candidates for other offices in the current primary race, issues affective Idahoans, his

position on various issues, and other campaign and government related political speech.

       20.     Individual Facebook users frequently comment on Defendant’s posts and

Defendant engages in discussion with those commenters in the comment sections

associated with Defendant’s posts on the Facebook page.

       21.     Because of the way Defendant uses the Facebook page, it has become an

important channel for information about his candidacy, his role as a legislator, and his

involvement and role in the governance of the state of Idaho.

       22.     Individuals who are blocked from accessing the page and/or commenting

thereon are impeded in their ability to learn information that is shared through the page.

       23.     The comment threads associated with Defendant’s posts on the Facebook

page have become important forums for the exchange of information and discourse

regarding matters of public concern including, but not limited to, Defendant’s candidacy,

Defendant’s activities as a legislator, Defendant’s opponent in the primary, candidates for

other offices in the current primary race, issues affective Idahoans, Defendant’s position

on those issues, and various events of public concern relevant to the citizens of the state

of Idaho.

       24.     The Facebook page has become a virtual public forum where citizens

speak directly to Defendant, receive information from Defendant, and listen to and debate

with both Defendant and other citizens, just as they might do if gathered in a public

square, a public park, a public meeting, or a town hall.




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        25.     Plaintiffs are all Facebook users who have been blocked by Defendant or

his agents from accessing the Facebook page and/or commenting on the Facebook page

because they have criticized Defendant as a representative or candidate or have criticized

his position on policies or other matters of public concern.

        26.     By blocking Plaintiffs, Defendant prevents them from viewing his posts,

commenting on those posts, viewing the comments of other Facebook users on those

posts, and from participating in the comment threads in support or opposition to the

matters of public concern raised therein.

        27.     Defendant’s viewpoint-based blocking of Plaintiffs from the Facebook

page infringes their individual freedoms as guaranteed by the First Amendment.

        28.     Defendant’s viewpoint-based blocking imposes an unconstitutional

restriction on Plaintiffs’ participation in a public forum.

        29.     Defendant’s viewpoint-based blocking imposes an unconstitutional

restriction on Plaintiffs’ access to statements that Defendant is otherwise publishing to

the public at large.

        30.     Defendant’s viewpoint-based blocking imposes an unconstitutional

restriction on Plaintiffs’ right and ability to petition the government for redress of

grievances.

        31.     On Thursday, April 28, 2022, Defendant was provided notice of his First

Amended infringing actions along with written demand that he unblock Graf.

        32.     On Friday, April 29, 2022, Defendant was provided further written

demand that he unblock all Idaho citizens.




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       33.     On May 8, 2022, Defendant changed the name of the Facebook page from

“Representative Chad Christensen” to “Re-Elect Rep. Chad Christensen.”

       34.     Notwithstanding the name change, the Facebook page is the same page

Defendant has used since September 4, 2021 in his capacity as an elected official.

       35.     Notwithstanding the above referenced demands, Defendant, on May 9,

2022 at 6:06 pm falsely claimed that he had never been accused of violating rights by

posting as follows:




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       36.      Defendant continues to infringe the First Amendment rights of Plaintiffs

by blocking them from access to the Facebook page.

   COUNT ONE – DECLARATORY AND INJUNCTIVE RELIEF (28 U.S.C. §§
                         2201-2202)

       37.      Plaintiffs reallege by reference all prior allegations.

       38.      Plaintiffs are interested parties seeking a declaration as authorized by 28

U.S.C. 2201.

       39.      This Court has authority to declare the rights and other legal relations of

the parties pursuant to 28 U.S.C. 2201.

       40.      This Court has the additional authority to grant further necessary and

proper relief, including injunctive relief, pursuant to 28 U.S.C. 2202.

       41.      This Court should declare as follows and enter injunctive relief prohibiting

Defendant from engaging in further unlawful conduct:

             a. The Facebook page maintained by Defendant as described herein

                constitutes a public forum.

             b. Defendant’s action of blocking Plaintiffs from the Facebook page violates

                the First Amendment because it imposes viewpoint-based restriction on

                the Plaintiffs’ participation in a public forum.

             c. Defendant’s action of blocking Plaintiffs from the Facebook page violates

                the First Amendment because it imposes viewpoint-based restriction on

                the Plaintiffs’ access to statements by an elected official otherwise made

                available to the public at large.




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            d. Defendant’s action of blocking Plaintiffs from the Facebook page violates

               the First Amendment because it imposes viewpoint-based restriction on

               the Plaintiffs’ ability to petition the government for redress of grievances.

                                 PRAYER FOR RELIEF

       Plaintiffs pray for relief of this Court as follows:

       1.      The declaration of this Court that Defendant’s viewpoint-based blocking

of the Plaintiffs from the Facebook page is an unconstitutional infringement of Plaintiffs’

rights guaranteed by the First Amendment;

       2.      Injunctive relief requiring Defendant to unblock Plaintiffs from the

Facebook page, and prohibiting Defendant from blocking Plaintiffs and others from

accessing and commenting on the Facebook page based upon viewpoint;

       3.      Such other relief as the Court may deem just and appropriate under the

totality of the circumstances.

Dated: May 12, 2022.


/s/ Jared W. Allen
Jared W. Allen
Of Beard St. Clair Gaffney PA
Attorney for Plaintiffs




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